 Case 2:12-cr-01109-GW Document 91 Filed 10/19/21 Page 1 of 2 Page ID #:593




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 s                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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it ~ UNITED STATES OF AMERICA,                 Case No. ~_~Z_~ ~~~~ ,r
                                                                     Y"
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                        Plaintiff,
                                              ORDER OF DETENTION AFTER
13
           v.                                 HEARING
14                                            [Fed.R.Crim.P. 32.1(A)(6);
15                                            18 U.S.C. § 3143(A)]
     ~qx~~~,L ~la~~~ ~ ~1 I~~~~es
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                        Defendant.
1~
is
19         The defendant having been arrested in this District pursuant to a warrant
20   issued by the United States District Court for the ~~~k, ~i3~iic~ of~ ~Q ~t~fXa ~►
21   for alleged violations) of the terms and conditions of his/her [,                     anon]
22   [supervised release]; and
23         The Court having conducted a detention hearing pursuant to Federal Rule of
24   Criminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a),
25         The Court finds that:
26   A.   ~      The defendant has not met his/her burden of establishing by clear and
27         convincing evidence that he/she is not likely to flee if released under 18
2s         U.S.C. § 3142(b) or (c). This finding is based on ~~~"~ ~~
 Case 2:12-cr-01109-GW Document 91 Filed 10/19/21 Page 2 of 2 Page ID #:594




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 4         and/or
 5   B.    ~      The defendant has not met his/her burden of establishing by clear and
 6         convincing evidence that he/she is not likely to pose a danger to the safety of
           any other person or the community if released under 18 U.S.C. § 3142(b) or
 s        (c). This finding is based on:    ~       ~.o~   (~i~     6~ G~~.~~
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13         IT THEREFORE IS ORDERED that the defendant be detained pending the
14   further revocation proceedings.
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                         ~"°vJ
16   Dated:   ~ ~ f1 ~
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                                               ALEXANDER F. MacKINNON
20                                         UNITED STATES MAGISTRATE JUDGE
al
as
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